      Case 3:21-md-02981-JD Document 928-2 Filed 02/07/24 Page 1 of 2




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                              UNITED STATES DISTRICT COURT
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                            NORTHERN DISTRICT OF CALIFORNIA
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12                                 SAN FRANCISCO DIVISION

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14   IN RE GOOGLE PLAY STORE                        Case No. 3:21-md-02981-JD
     ANTITRUST LITIGATION
15                                                  [PROPOSED] ORDER GRANTING
16   THIS DOCUMENT RELATES TO:                      DEFENDANTS’ REQUEST TO
                                                    RESCHEDULE FEBRUARY 15
17   State of Utah v. Google LLC., Case No. 3:21-   HEARING ON STATES’ UNOPPOSED
     cv-05227-JD                                    MOTION TO GIVE NOTICE OF
18                                                  PARENS PATRIAE SETTLEMENT
     In re Google Play Consumer Antitrust
19   Litigation, Case No. 3:20-cv-05761-JD          Judge:       Hon. James Donato
20                                                  Courtroom:   11, 19th Floor

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     [PROPOSED] ORDER GRANTING DEFENDANTS’ REQUEST TO RESCHEDULE FEBRUARY 15 HEARING
                  Case Nos. 3:21-md-02981-JD, 3:21-cv-05227-JD, Case No. 3:20-cv-05761-JD
      Case 3:21-md-02981-JD Document 928-2 Filed 02/07/24 Page 2 of 2




 1         This Court, having considered “Defendants’ Request to Reschedule February 15 Hearing,”

 2 filed by Defendants in the above-captioned matter (“Google”), hereby ORDERS that the request is

 3 GRANTED. The upcoming February 15, 2024 hearing on States’ Unopposed Motion to Give

 4 Notice of Parens Patriae Settlement is reset for [ DATE ] at [ TIME ].

 5         IT IS SO ORDERED.

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 7   DATED: February __, 2024

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 9                                                      HON. JAMES DONATO
                                                        United States District Judge
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     [PROPOSED] ORDER GRANTING DEFENDANTS’ REQUEST TO RESCHEDULE FEBRUARY 15 HEARING
                  Case Nos. 3:21-md-02981-JD, 3:21-cv-05227-JD, Case No. 3:20-cv-05761-JD
